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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
     Plaintiff,                      )    4:07CR3036
                                     )
     v.                              )
                                     )       ORDER
JOSEPH ROBERT MORANDO and            )
JOSE M. LLAMAS,                      )
                                     )
     Defendants.                     )



     IT IS ORDERED,

     Plaintiff’s motion to continue, filing 70, is granted and
trial of this matter is continued to 9:00 a.m., April 7, 2008,
before the Honorable Richard G. Kopf in Courtroom 1, United
States Courthouse and Federal Building, 100 Centennial Mall
North, Lincoln, Nebraska. Jury selection will be held at
commencement of trial.


     Dated January 8, 2008.

                                   BY THE COURT


                                   s/David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
